            Case 1:20-cv-02250-RJL Document 15-1 Filed 09/01/20 Page 1 of 2


From:               Seabrook, April (USADC)
To:                 "Manuel Retureta"
Cc:                 Joaquin Perez
Subject:            RE: Mancuso v Wolf
Date:               Thursday, August 27, 2020 1:53:47 PM




Hi Manny:

Thank you for your email. Neither my clients nor I have done anything to mislead you or the Court. To be clear,
our representation to you and the Court was that: “Petitioner is currently scheduled to be removed from the United
States to Italy . . . no later than Friday, September 4, 2020; and . . . that should a decision be made to remove
Petitioner to another country, Petitioner would be provided at least 14 days advance notice.” Those representations
were and remain true.

Mr. Mancuso is still currently scheduled for removal to Italy no later than September 4, 2020. No representation
was made or is being made regarding the existence or non-existence of communications inside the US government
or with other countries regarding removal or extradition. Until an alien is removed, it is always possible that a
change will be made. Accordingly, we did not and would not represent that no change is possible.   As we
previously said, should a decision be made to remove Mr. Mancuso to another country, he will be provided at least
14 days advance notice.

Best,
~ April D.S.

APRIL DENISE SEABROOK
Assistant United States Attorney   
Office: (202) 252-2525 | Cell: (202) 815-9024
April.Seabrook@usdoj.gov



-----Original Message-----
From: Manuel Retureta <mjr@returetawassem.com>
Sent: Thursday, August 27, 2020 10:50 AM
To: Seabrook, April (USADC) <ASEABROOK@usa.doj.gov>
Cc: Joaquin Perez <jplaw1@bellsouth.net>
Subject: Mancuso v Wolf

Hi April,

We write to confirm that Mr. Mancuso’s removal to Italy continues to be in place and moving forward.

Our question is spurred because we have received information, from reliable sources in Colombia and the U.S.,
telling us that the US government is actively engaged in assisting, and coordinating with, Colombia’s effort to
extradite Mr. Mancuso. We are very troubled by this since it is inconsistent with our understanding of our
agreements, and representations made to Judge Leon.

Admittedly, if Colombia, or any other nation, seeks Mr. Mancuso, that is a matter for that nation. However, if the
U.S. (specifically the named defendants in our matter) is actively engaged in Colombia’s effort to extradite Mr.
Mancuso, your clients have been less than forthcoming with you.

A political quid pro quo between nations is understood. However, representations to the Court that your clients are
actively engaged in his removal to Italy, which include a date certain for such action, when at the same time your
clients are actively coordinating an effort to extradite him to Colombia is completely inconsistent with what was told
to Judge Leon, and is unacceptable.
         Case 1:20-cv-02250-RJL Document 15-1 Filed 09/01/20 Page 2 of 2


Perhaps we should have a conference call this morning to discuss our concern.

Thanks
Manny

Manuel J. Retureta, Esq.
RETURETA & WASSEM, P.L.L.C.
300 New Jersey Ave., NW, Suite 900
Washington, D.C. 20001
202-549-0679
